Case 1:19-cv-01562-DNH-ATB Document 170-1

UNITED STATE DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

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KEYBANK NATIONAL ASSOCIATION,

 

 

Plaintiff, and

CAPITAL COMMUNICATIONS FEDERAL CREDIT
UNION,

Intervenor,
-\V-

MONOLITH SOLAR ASSOCIATES LLC, et al., and
GARY HICKOK d/b/a GARY’S GARAGE.

Defendants.

 

~---X

Filed 08/21/20 Page 1 of 30

1:19-CV-1562-DNH-ATB

AFFIDAVIT IN SUPPORT OF MOTION TO PURGE AND VACATE ORDER OF
CONTEMPT AND IN OPPOSITION TO APPLICATION FOR ATTORNEYS FEES

STATE OF FLORIDA )
)SS:
COUNTY OF INDIAN RIVER _ )

Gary Hickok being duly sworn deposes and says:

1. Your Deponent is named as a Defendant in this action on behalf of Gary’s Garage and

makes this Affidavit in support of his motion to purge and vacate the Order of Contempt

and in opposition to the Receiver’s request for attorney’s fees.

2. AS A PRELIMINARY STATEMENT, your Deponent acknowledges that this Court has
issued an Order of Contempt arising out of a certain Lease Agreement ostensibly between

Gary’s Garage and Monolith Solar Associates LLC pursuant to which solar panels were

installed at 5, 8, 8A, and 9 Apollo Drive, Albany, New York 12205.

3. Your Deponent has now been advised and understands the nature of these proceedings and
has taken immediate action to restore power to the Monolith solar panel systems which

was accomplished on Friday, August 14, 2020 with simultaneous notice given to

Receiver’s counsel. Please see Exhibit A.
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Your Deponent has also requested and received instructions for providing access to the
equipment by the Receiver or his representatives and has provided the key person contact

information as set forth in Exhibit B.

This matter arises out of a certain Lease Agreement with Monolith Solar Associates LLC,
a copy which is attached as Exhibit C. This is an undated and unsigned copy but is all that

we have from Monolith.

In addition to being undated and unsigned the Lease also improperly names your deponent
d/b/a Gary’s Garage as a party. The Lease was supposed to be with G&F Property
Management, LLC., not Gary’s Garage, which is also improperly named as it is a
corporation. Your deponent is a Principal of G&F Property Management, LLC., and did
not realize that the Lease was improperly drafted identifying Gary’s Garage.

G&F Property Management, LLC. is the owner of the properties of 5, 8, 8A and 9 Apollo

Drive.

The Lease was supposed to commence in 2016 but Monolith was never able to become
operational until 2018.

The Lease consideration provided for a ‘Singing Bonus’ in the amount of $45,000.00 and
then annual payments of $4,500.00 commencing upon the start of commercial operations

with an annual increase of 1.75%.

The $45,000.00 signing bonus was never fully paid with an outstanding balance of
approximately half. Partial payments that were made were intermittent and generally only
after being warned that without payment the system would be shut down which it

periodically was.

Promises by Monolith to resume and complete payments of the signing bonus were given
as shown in Exhibit D but were never honored. No Lease payments were ever made
notwithstanding that Monolith continued to operate the system on defendant’s power bill

and presumably derive revenue.

Contact with or on behalf of Monolith became increasingly disingenuous, and discourteous

and with an obvious intent to say anything but continue to breach the Lease.
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With respect to the papers that are the subject proceeding, your deponent never knowingly
or intentionally intended to disobey or disrespect this Court. These proceedings occurred
substantially during the COVID-19 emergency. Your Deponent had to be in the State of
Florida for much of this time and is presently still stuck in Florida due to the mandatory

quarantine if my wife and I return now.

The dishonest and false representations made by Monolith caused a contentious
relationship and also fostered eventual confusion over who we were dealing with when
contacts were made by or on behalf of the Receiver. There was admittedly confusion but

there was no intent to disobey the Court.

During this time, in January of 2020, the business of Gary’s Garage was also sol and the
properties leased to the new operator. Contacts to employees of the new operator may also

have been misunderstood.

We are a family owned business for almost 5 decades. We have always maintained an

honorable reputation in our community and business environment.

Upon being advised of the nature of these proceedings and of the Order of the Court, a
copy of which is attached as Exhibit E, your deponent acted promptly to direct that the
power be restored to the Monolith systems and to designate an on-site contact person with

authority to facilitate any required access or other cooperation with the Receiver.

We have been and continue to be economically damaged by the conduct of Monolith not
only in the breach of its Lease but also in the restored and continued operation of the system
on our electric meter, but are and will continue to cooperate with the Court and the

Receiver.

Ironically, we have very recently been resolicited by the Principal of Monolith to invest in
yet another solar energy project or scheme. We will not do that, but we will comply with

all directives of the Court.

Accordingly, we respectfully request to be purged from the contempt citation and penalties.
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21. We request relief from the previous Order of the Court based upon our misstate,
inadvertence and confusion and that the Order of the Court has now been fully complied
with.

22. We request that the pleadings be corrected to name the correct parties.

23. We request that the Court, deem these circumstances to be excusable with the assurance

that full and timely compliance with ongoing requirements will be maintained.

24. With respect to the application for counsel fees we acknowledge that the Receiver incurred

expenses but request reasonable relief based upon the circumstances set forth above.

WHEREFORE, your Deponent respectfully prays this Court for an Order purging and
vacating the Order of Contempt and the penalties associated therewith directing the pleadings to
be amended to reflect the proper parties and for such other and further relief that the Court may

deem just, proper and equitable.

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fary Hickok

Sworn to before me this rin day

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5, 2023
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EXHIBIT A
Case 1:19-cv-01562-DNH-ATB Document 170-1 Filed 08/21/20 Page 6 of 30

Frederick Altman <fmaesq@yahoo.com> Fri, Aug 14 at 5:03 PM
To: Justin Heller

Ce: Brian Deinhart
Bee: PATRICK HICKOK

Gentlemen,

| advised our client to reactivate the solar panels and | was told that they
could do it themselves. | have now been told that the panels are
activated. The attached four (4) photographs show the breakers in the
‘on’ position.

We will file a Notice of Appearance and formally notify the Court that this
has been accomplished.

Upon verification with the Receiver | request that you also confirm this to
the Court.

Thank you.

Frederick M. Altman, Esq.
The Altman Law Firm

6 Walker Way

Albany, New York 12205-4946
(518) 690-2828

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Thank you.
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EXHIBIT B
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The Altman Law Firm
SIX WALKER WAY
ALBANY, NEW YORK 12205-4946
Telephone (518) 690-2828
Telefax (518) 690-2809

August 18, 2020
Sent by email: jhelleranhkllp.com
and bdeinhartanhklip.com

Nolan Heller and Kauffman, LLP
80 State St.

11" Floor

Albany, NY 12207

Attn: Justin A. Heller, Esq.
Brian D. Deinhart, Esq.

Re: KeyBank National Association vy. Monolith Solar Associates LLC, et al.
Case No.: 1:19-CV-1562

Dear Mr. Heller and Mr. Deinhart,

In follow-up to our notification that the electric power had been restored on Friday,
August 14, 2020, I can now provide onsite contact information for immediate access to the
properties as a necessary:

Contact Person: Patrick Hickok

Telephone (Cell): (518) 573-3663

Address: 9 Apollo Drive, Albany, NY 12205
Email: Garysgarage] (@aol.com

Gary Hickok is in Florida and cannot return to New York without being subjected to a
mandatory quarantine, however, Patrick Hickok is in New York at the site and will provide
immediate access as required.

Thank you.

Very truly yours,

ederick M. Altman, Esq.

ce: Gary Hickok
Patrick Hickok
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EXHIBIT C
Case 1:19-cv-01562-DNH-ATB Document 170-1 Filed 08/21/20 Page 14 of 30

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LEASE AGREEMENT

This Lease Agreement (this “Lease”) is made effective as of >, by and between Gary’s Garage
(“Lessor”) with its principal office located at 8 Apollo Drive Albany NY 12205, and Monolith Solar

Associates LLC (“Lessee”) with its principal office located at 444 Washington Street, Rensselaer, NY
12144 to lease certain Premises. The parties agree as follows:

PREMISES. Lessor, in consideration of the lease payments provided in this Lease, agrees
to lease to Lessee roof space (the “Premises”) capable of supporting a 600,000-watt solar electric power
generating system(s) (the “PV System”) located at Same as above (the “Property”).

TERM. The Lease will begin on the date of its execution and expire twenty (20) years after Commercial
Operation. Commercial Operation is the date upon which the PV System is granted permission to operate
by the utility company. Lessor grants Lessee the right, privilege and option to extend the Lease for two
(2) extension periods of five (5) years each, upon the same terms and conditions as contained in the Lease,
with notice in writing to Lessor at least ninety (90) days prior to the expiration of the term or preceding
extension of the term. Notwithstanding the foregoing, Lessee and Lessor acknowledge and agree that this
Lease shall be coterminous with the term in a Power Purchase Agreement associated with the PV System.

LEASE PAYMENTS. Lessee shall pay to Lessor $4,500.00 per year, beginning upon Commercial
Operation and then payable in advance annually on the anniversary date of Commercial Operation. Such
lease payments shall increase yearly at a rate of 1.75%.

SIGNING BONUS. Lessor shall receive a signing bonus of $45,000.00 if signed by 12/12/2016, 2016.

The signing bonus is fully earned and payable upon Commercial Operation of the PV System, subject to
the contingencies below.

POSSESSION. Lessee shall be entitled to possession as of the date of execution of this Lease, and shall
return possession to Lessor on the last day of the term of this Lease, unless otherwise agreed by both
parties in writing. Lessee shall have the right to receive any security codes or access necessary to occupy
the Premises as needed by the Lessee. At the end of the term, Lessee shall remove its property and return
the Premises to Lessor in as good condition as when delivered to Lessee, ordinary wear and tear excepted.

USE OF PREMISES. Lessee shall have the right upon full execution of this Lease to develop, permit,
store equipment for, construct, reconstruct, finance, install, maintain, repair, replace, decommission, use,
own, and operate a PV System, including ingress to and egress from, all electrical collection, transmission
and interconnection facilities, and access and service roads related to the PV System on the Premises and
other improvements necessary for the generation, storage, selling, and delivery of electrical power from
the Premises to the local electricity distribution system and/or the local electrical transmission system.

CONTINGENCIES. Lessee shall have an Inspection Period commencing on full execution and delivery
of this Lease within which to perform due diligence, and to investigate, apply for, and pursue such permits
and approvals, in each and every case, as Lessee determines are necessary or desirable, in its sole and

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absolute discretion including, but not limited to, (i) municipal/governmental approval for installation of a
roof mounted PV System on the Premises; and (ii) utility approval for interconnection within a reasonable
cost to the Lessee, (iii) approval of financial incentives from the NY-Sun Incentive Program; and (iv) a
structural analysis letter allowing the installation to proceed. Lessor agrees to execute any papers and
documents reasonably necessary to complete contingencies as well as any papers necessary for third-party
consents such as financing parties. Lessee has the right to cancel this Lease or reduce the lease payment
amount or bonus amount based on the ability and availability to install a roof mounted PV System.

LESSOR WARRANTIES. Lessor warrants that Lessor is not in default under any mortgage and that
there are no pending or threatened litigation relating to the ownership, use, or possession of the Property.

INSURANCE. At all times during the term of the Lease, Lessee shall maintain and pay for liability
insurance covering certain risks arising directly or indirectly out of Lessee’s activities on the Premises.
Lessee shall maintain General Liability coverage of one million dollars ($1,000,000) for each occurrence,
and two million dollars ($2,000,000) in the aggregate. Lessee shall maintain Umbrella Liability coverage
of five million dollars ($5,000,000). Lessee shall also have Worker's Compensation Insurance for the
entirety of all installation processes. Lessor shall maintain adequate casualty and general liability
insurance coverage for the Property for the duration of the Lease.

MAINTENANCE. Lessor shall have the responsibility to maintain the Premises in good repair at all
times and perform all repairs necessary except that Lessee shall be responsible for maintaining the PV
System and addressing any roof related concerns as a result of the PV System. Lessee shall have access
at any hour to clean, maintain, repair, or replace its equipment. Lessee shall make reasonable attempts to
give notice to Lessor of its planned visit to the Premises.

TAXES. Lessee shall pay real and personal property taxes assessed or levied against the Premises as a
result of the PV System during the term of the Lease.

FORCE MAJEURE. If the Premises are damaged or destroyed by fire or other casualty to the extent that
the use is substantially impaired, Lessor, in its sole discretion may elect to repair the Premises or terminate
the Lease upon thirty (30) days’ written notice to Lessee. If the Premises are condemned or cannot be
repaired or the PV System cannot be repaired, this Lease will terminate upon twenty (20) days’ written
notice by either party and Lease payment amounts will be prorated to the date of termination.

DEFAULT BY LESSEE. Lessee shall be in default of this Lease if Lessee fails to fulfill any lease
obligation or term by which Lessee is bound. If Lessee fails to cure any financial obligation within thirty
(30) days after written notice of such default is provided by Lessor to Lessee, Lessor may elect to cure
such default and the cost of such action shall be added to Lessee’s financial obligations under this Lease.

INDEMNIFICATION. Each party, its subsidiaries, affiliates, and assigns (the "Indemnifying Party")
shall not be liable for any damage or injury to the other party, or any other person, or to any property,
occurring on the Premises or any part thereof or as a result of possession or use of the Premises, or business
operations on the Property, except to the extent caused by the gross negligence or willful misconduct of
the other party. The Indemnifying Party agrees to indemnify and hold the other party harmless from any

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end all damages, costs, liabilities, penalties, fines, forfeitures, demands, claims, causes of action, suits and
costs and expenses incidental thereto, and all other losses, to the extent arising, directly or indirectly, in
connection with the Indemnifying Party’s use or possession of the Property or business operations on the
Property. Said indemnification shall include indemnity from any costs or reasonable fees which the other
party may incur in defending said claim.

REMODELING OR STRUCTURAL IMPROVEMENTS. Should Lessor require remodeling or
structural improvements to the Premises that would affect the PV System, Lessor shall provide written
notice to Lessee thirty (30) days in advance. Should Lessee have to remove the PV System, the fair market

value for removal and reinstallation of the PV System shall be deducted from the lease payment due Lessor
in the following year.

NO INTERFERENCE. Lessor shall not enter into any agreements, leases, lease renewals, easements, or
any other arrangements for rights to or for the Property that could adversely affect the Premises, or the
ownership, operation, or use of the PV System, or the transmission and interconnection facilities. Lessor’s
activities and any grant of rights by Lessor to any third party shall not, now or in the future, interfere with
any rights granted to Lessee under this Lease. Without limiting the foregoing, Lessor shall not: (a)
construct or permit to be constructed any structure; (b) plant or allow to be planted any trees or other
vegetation; or (c) allow any other obstruction, in each case, on the Property or adjacent to the Premises,
that is reasonably expected to decrease the output or efficiency of the PV System or adversely affect
insolation. Lessor has no right or interest in or to the PV System or any appurtenances thereto. The PV
System shall remain the sole personal property of the Lessee or its assigns. Lessor waives any rights or
claims to a lien or other interest in the PV System. Lessor shall sign any consent acknowledging such.

DANGEROUS MATERIALS. Lessee shall not keep or have on the Premises any article or thing of a
dangerous, flammable, or explosive character that might substantially increase the danger of fire on the
Premises, or that might be considered hazardous by a responsible insurance company, unless the prior
written consent of Lessor is obtained and proof of adequate insurance protection is provided by Lessee.

ASSIGNABILITY/ SUBLETTING. Lessee may sublet the Premises in whole or in part without Lessor's
consent, but the making of any sublease shall not release Lessee from, or otherwise affect in any manner,
any of Lessee's obligations under this Lease. Lessee may assign, collaterally assign, or transfer this Lease
Agreement, or any interest in this Lease Agreement, whole or in part without Lessor's consent. This Lease
shall inure to the benefit of and be binding upon Lessor and Lessee, their heirs, successors and assigns
(including each Assignee). Lessor agrees that the rights of Lessee under this Lease shall extend to agents,
representatives, employees, contractors, subcontractors and other service providers of Lessee

CHANGE IN LAW OR CIRCUMSTANCE. If there is a change in law or circumstance that occurs that
will affect the operation of a PV System, Lessee shall be responsible for dealing with reasonable increases
in costs or remediation as required. If such change in law makes operation of a PV System impossible or
impracticable, Lessee may terminate this Lease. Upon notice of termination, Lessee shall have twelve (12)
months to remove the system from the Premises.

GOVERNING LAW. This Lease will be construed in accordance with the laws of the State of New York.

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NOTICE. Notices under this Lease shall be deemed invalid unless given or served in writing and
forwarded by mail, postage prepaid, addressed to the party at the appropriate address set forth below. Such
addresses may be changed from time to time by either party by providing notice as set forth below. Notices
mailed in accordance with these provisions shall be deemed received on the third day after posting.

LESSOR: LESSEE:
Enter Business Mame Monolith Solar Associates LLC
Attn: Enter Susiness Contact Person Attn: Steven Erby

usiness Acres. 444 Washington Street
ip Rensselaer, NY 12144

ENTIRE AGREEMENT/AMENDMENT. This Lease supersedes all other previous agreements
regarding the roof of the Premises. This Lease contains the entire agreement of the parties and there are
no other promises, conditions, understandings or other agreements, whether oral or written, relating to the
subject matter of this Lease. This Lease may be modified or amended in a writing signed by both parties.

SEVERABILITY. If any portion of this Lease shall be held to be invalid or unenforceable for any reason,
the remaining provisions shall continue to be valid and enforceable. If a court finds that any provision of
this Lease is invalid or unenforceable, but that by limiting such provision it would become valid and
enforceable, then such provision shall be deemed to be written, construed, and enforced as so limited.

WAIVER. The failure of either party to enforce any provisions of this Lease shall not be construed as a
waiver or limitation of that party’s right to subsequently enforce and compel strict compliance with every
provision of this Lease.

BINDING EFFECT. The provisions of this Lease shall be binding upon and inure to the benefit of both
parties and their respective legal representatives, successors and assigns.

IN WITNESS WHEREOF, Lessor and Lessee have executed this Lease the date first above stated.

 

 

 

 

 

 

LESSOR: LESSEE:

Enter Lessor Business Name Monolith Solar Associates LLC
by: Enter Signor’s Name by: Steven Erby

Enter Signor’s Title COO

Title Title

Date Date

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EXHIBIT D
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Gina Cachioli ©. .
Monolith Payment Update
Jun 13, 2018, 3:59:15 PM
garysgaragel1@aol.com
Ron Mnieckowski

Good Afternoon Mr. Hickok,

| wanted to reach out to you regarding the remainder of the bonus and lease payment
that is due for the Gary’s Garage project. Each week our CFO, Ron Mnieckowski,
provides updates as to what payments are to be issued for the week. He is currently out
of town for a few weeks, however | will be your contact in his absence. We are aware
that we need to issue your payment as soon as possible, and will update you each
Friday if that payment will be released based on our weekly cash forecast.

We thank you for your continued patience until we can get this payment out to you. | will
be sure to follow up with you this Friday to indicate if | am able to send payment. Also,
in reviewing our records, it appears that we do not have a W-9 for your company on file,
and we would need this before final payment can be issued. Please send this over at
your earliest convenience.

Please let me know if you have any questions.

Thank you,

Gina Cachioli

Accounting Director

Please note effective March 19, 2018 our new office location and mailing address is
16 Corporate Woods Bivd, Suite 1, Albany, NY 12211

os

16 Corporaie Woods Bivd. Suite 1
Albany, NY 12211

Tel: 518.444.2044

Fax: 518.621.7061
Gina.Cachioli@monolithsolar.com

hitp:/Avww.monolithsolar.com
Confidentiality Note: This ®-mail message may contain confidential or legally privileged information and is intended only for the use of the intended
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attachment are solely those of the author and do not necessarily represent those gf the company.

any action in reliance on the information herein is
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EXHIBIT E
 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

KEYBANK NATIONAL ASSOCIATION,
Plaintiff, and

| CAPITAL COMMUNICATIONS FEDERAL
CREDIT UNION,

Intervenor,
-\/-

MONOLITH SOLAR ASSOCIATES LLC, et al.,
Defendants.

APPEARANCES:

THOMPSON, HINE LAW FIRM-NY
Attorneys for Plaintiff

335 Madison Avenue 12th Floor
New York, New York 10017

THOMPSON, HINE LAW FIRM-CLEVELAND
Attorneys for Plaintiff

3900 Key Center

127 Public Square

Cleveland, Ohio 44114

THOMPSON HINE LLP
Attorneys for Plaintiff

Austin Landing |

10050 Innovation Drive Suite 400
Miamisburg, Ohio 45342

LIPPES MATHIAS WEXLER & FRIEDMAN LLP
Attorneys for Intervenor

54 State Street Suite 1001

Albany, New York 12207

THE WAGONER FIRM PLLC
Attorneys for Defendant Steven A. Erby
150 State Street, Suite 504

Albany, New York 12207

1:19-CV-1562

OF COUNSEL:

BARRY M. KAZAN, ESQ.

CURTIS LEE TUGGLE, ESQ.

JONATHAN S. HAWKINS, ESQ.

JOHN D. RODGERS, ESQ.

MATTHEW D. WAGONER, ESQ.

 
 

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NOLAN HELLER KAUFFMAN LLP JUSTIN A. HELLER, ESQ.
Attorneys for Receiver, Daniel Scouler FRANCIS J. BRENNAN, ESQ.
80 State Street, 11th Floor JOHN V. HARTZELL, ESQ.

Albany, New York 12207

DAVID N. HURD
United States District Judge

MEMORANDUNM-DECISION and ORDER

On December 18, 2019, plaintiff KeyBank National Association ("KeyBank" or
“plaintiff’) filed this breach of contract action seeking to foreclose on certain secured interests
it had obtained against Monolith Solar Associates LLC ("Monolith"), its owners, and several
other power companies with common ownership. Dkt. 1. Plaintiff alleges that defendants
have breached each of those agreements and are therefore liable to plaintiff to the tune of
$6.1 million. See id. ¥ 2.

On December 20, 2019, Daniel Scouler ("Scouler" or "the receiver") was appointed as
receiver under Federal Rule of Civil Procedure ("Rule") 66 to manage the power companies
during the pendency of the foreclosure action. See generally Dkt. 7. At the same time, the
Court imposed a stay of all outside litigation against the receivership properties absent
express permission. /d. J 21; see Dkt. 96, J 21 (including same language of stay in updated
Second Order Modifying Receivership Order). The stay also prohibited
"all... persons... from doing any act or thing whatsoever to interfere with the [receiver in
the discharge of [his] duties... ." Dkt. 7, 9 21; Dkt. 96, § 21.

On December 9, 2016, non-party Gary Hickok ("Hickok") agreed to lease rooftop
space at his business, Gary's Garage, located at 8A Apollo Drive, Albany, New York 12205,
to Monolith so that it could install a solar panel, called a PV system, on his roof.

Dkt. 124, 5. Perhaps unsurprisingly, Monolith fell behind on its lease payments, and now

owes Hickok $13,737.63. /d. J 8.

 
 

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Upon being named receiver, Scouler told Monolith's lessors, including Hickok, that he
needed to have continued access to the company's PV system at Gary's Garage, and in
exchange promised to resume rent payments beginning in April of 2020. Dkt. 124, ] 9.
Although this would not reimburse the lessors for the rent they were already owed, neither
would it interfere with their ability to collect that rent upon the conclusion of the receivership.
ld.

Although most lessors were satisfied with this arrangement, it would seem that Hickok
was not. Dkt. 124, J] 9-10. Toward the end of March 2020, Hickok allegedly disconnected
the PV system at Gary's Garage. /d. $10. On April 1, 2020, Scouler was able to contact
Hickok's son, who insisted that the receiver would not have access to the leased premises
until he paid all the rent that Monolith owed. /d.

On April 3, 2020, counsel for Scouler wrote to Hickok explaining the scope and nature
of the receiver's authority and provided him a copy of the Order Appointing Receiver.

Dkt. 124, 11. Apparently, this first letter did nothing to change the status quo, and the
receiver's counsel wrote Hickok again on May 12, 2020. /d. § 12. The second letter warned
that if Hickok did not allow the receiver access to the premises within seven days, he would
request an order to show cause why he should not be held in civil contempt of the
receivership order. /d. Monolith employees nevertheless called Hickok on the telephone on
May 26 and 28, 2020, but to no avail. /d. 13. In total, the receiver projects that Monolith
lost approximately $9,729.00 between April and June of 2020 because it was denied power
from this PV system. /d. | 21(b).

On June 15, 2020, Scouler moved for an order to show cause why Hickok should not
be held in civil contempt. Dkt. 124. On June 17, 2020, that order followed, requiring that

Hickok show cause no later than Wednesday, July 8, 2020. Dkt. 129. As part of the same

 
 

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decision, the receiver was also ordered to personally serve Hickok no later than Friday, June
26, 2020. Id. at3. On June 23, 2020, the receiver personally served Hickok. Dkt. 137.
Nevertheless, he has not made any appearance or answer to the order to show cause. The
order to show cause being unopposed, it will now be decided on the basis of the parties'
submissions without oral argument.

Civil contempt is "[a] sanction imposed to compel obedience to a lawful court order or
to provide compensation to a complaining party... ." N.Y. State Nat'l Org. for Women v.
Terry, 886 F.2d 1339, 1351 (2d Cir. 1989). "Federal courts maintain the inherent power to
enforce their orders by civil contempt." Drew-King v. Deep Distributors of Greater NY, Inc.,
274 F. Supp. 3d 132, 136 (E.D.N.Y. 2017) (cleaned up).

A party may be held in civil contempt for failure to comply with a court order if: "(1) the
order the contemnor failed to comply with is clear and unambiguous[;] (2) the proof of
noncompliance is clear and convincing[;] and (3) the contemnor has not diligently attempted
to comply in a reasonable manner." Paramedics Electromedicina Comercial, Ltda. v. GE
Med. Sys. Info. Techs., Inc., 369 F.3d 645, 655 (2d Cir. 2004).

The receivership order—and the two orders modifying it—all contain the same clear
and unambiguous language. The Court's authority is firmly behind Scouler as he carries out
his responsibilities as receiver, and any person's "doing any act or thing whatsoever" to
disrupt him from his duties is flatly prohibited by the receivership order. Dkt. 7, 21:

Dkt. 96, J 21.

Despite the clarity of the that order in all its incarnations, Scouler has provided clear

and convincing evidence that Hickok spurned the Court's order and authority. The receiver

provided his own affidavit detailing Hickok's refusal to allow him access to the PV system at

 
 

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Gary's Garage, see generally Dkt. 124, as well as his attorney's affidavit narrating his efforts
to contact Hickok, Dkt. 124-1, Ff 1-6.

Hickok's disconnecting the PV system and preventing the receiver from using it to
generate electricity has actively harmed the receivership both by denying it a source of
revenue and by setting a bad example for the receivership's other lessors. In the absence of
Hickok's dispute of these facts or arguments to the contrary, the affidavits meet the standard
of clear and convincing evidence that he has interfered with the receiver's discharge of his
duties.

Finally, Hickok has not attempted at all to comply with the receivership order, despite a
slow and measured escalation in the pressure he was put under to do so. First, Scouler
notified all lessors that he was taking control of the receivership, provided them with a copy of
the Order Appointing Receiver, and informed them he needed access to the premises.

Dkt. 124, 9.9. Next, when Hickok disconnected the PV system, Monolith contacted Hickok's
son, and explained to him the state of the receivership while offering to begin to pay rent.
ld. 10. That overture was rebuffed. /d. Then, the receivership's attorneys wrote an email
to Hickok to stress the importance of complying with the receivership order. Dkt. 124-1, 2,
pp. 4-5.1 Hickok's response was silence. /d. § 2.

Nevertheless, before moving for an order to show cause, the receivership's attorneys
wrote Hickok another letter, sent by both email and post, which the United States Postal
Service confirmed Hickok received on May 13, 2020. Dkt. 124-1, 9 3, pp. 7-11. Once
Scouler moved to hold Hickok in civil contempt, he also personally served that motion on an

employee of Gary's Garage on Monday, June 15, 2020. Dkt. 124-1, p. 15.

 

1 Pagination corresponds with CM/ECF.

 
 

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But even that was not Hickok's final opportunity to comply with the receivership order.
Hickok was given until July 8, 2020 to show cause why he should not be held in civil
contempt by this Court's June 17, 2020 Memorandum-Decision and Order. Dkt. 129.
Scouler personally served him with that order on June 23, 2020. Dkt. 137. In other words,
Hickok was warned that disrupting the receiver's discharge of his duties would violate an
order of this Court on no fewer than six occasions, and still he has not provided so much of
an explanation for his actions, let alone a reason not to hold him in contempt. Thus, the
Court is left with no choice but to hold Hickok in civil contempt of the receivership order.

That still leaves the question of how relief for his contempt must be framed. Civil
contempt fines come in two variants: coercive or compensatory. Paramedics, 369 F.3d at
657. Although the two categories are treated differently, a contempt sanction can
simultaneously aim for both coercive and compensatory goals. /d. at 658. By necessary
implication, however, there can be no punitive civil contempt fines. /d. at 657.

If a fine is coercive, "the court has broad discretion" to design a remedy suitable to
coerce compliance with its orders. Paramedics, 369 F.3d at 657 (cleaned up). In wielding
that discretion, however, the court must consider various factors, including "the character and
magnitude of the harm threatened by continued contumacy," the probable effectiveness of
the suggested sanction in bringing about compliance, and the contemnor's ability to pay.
Perfect Fit Indus. v. Acme Quilting Co., 673 F.2d 53, 57 (2d Cir. 1982) (cleaned up).

lf a fine is compensatory, and thus payable to an opposing party rather than the court,
a court's discretion is more muted. See Terry, 886 F.2d at 1353. Specifically, the party
seeking a compensatory fine must demonstrate proof of loss. /d. The sanction must then
correspond "at least to some degree" with the amount of damages demonstrated. King v.

Allied Vision, Ltd., 65 F.3d 1051, 1062 (2d Cir. 1995). Regardless of whether a sanction is

 
 

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compensatory or coercive, a court may award appropriate attorneys' fees and costs to a
victim of contempt. Weitzman v. Stein, 98 F.3d 717, 719 (2d Cir. 1996).

lf the contemnor can demonstrate that he is financially unable to comply with a civil
contempt sanction, he may be excused from that sanction. Paramedics, 369 F.3d at 658.
However, the contemnor bears the burden of proving his inability to pay. United States v.
Rylander, 460 U.S. 752, 757 (1983).

Scouler has called for Hickok to be fined in the following amounts: (1) the receiver's
attorneys' fees incurred in securing the order to show cause; (2) $4,250 per month or $141.00
per day, the projected revenue Monolith estimates it has lost from the PV system at Gary's
Garage not producing electricity; (3) any additional damages Hickok has caused to the PV
system upon the receiver's application for additional damages; and (4) a daily coercive fine
sufficient to compel Hickok's compliance.

First, it is appropriate to award Scouler attorney's fees and costs for the expenses he
accrued in prosecuting this contempt action. Weitzman, 98 F.3d at 719. The receiver may
therefore make an itemized fee request with contemporaneous hourly records for the Court's
review no later than Wednesday, August 5, 2020. Hickok may oppose the motion for fees no
later than Wednesday, August 19, 2020.

Second, upon review, Scouler has adequately demonstrated loss for being denied
access to the Gary's Garage PV system. The amount of $4,250 per month or $141 per day
reflects only the lost profits from not being able to produce electricity using the Gary's Garage
panel. That amount was furthermore calculated based on Monolith's records and projections,
which are as reliable a source as can be expected in calculating the counterfactual value of
the PV system if it had been working as intended. Lastly, that the receiver affirmed this

amount to be accurate under penalty of perjury provides support for the validity of the fee

 
 

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amount. Accordingly, Scouler has adequately proven actual loss, and is entitled to a
compensatory fine in the amount of $15,711, or $4,250 per month for April, May, and June,
as well as $141 per day for July 1-21.

Third, Scouler may apply for any additional damages Hickok caused to the PV system
by disconnecting it. Should the receiver make such an application, the Court will conduct the
same review again to determine the amount of actual loss caused by Hickok's contempt and
will award the receiver a compensatory contempt fine if the receiver successfully proves loss.

Fourth and finally, a conditional daily fine is warranted to motivate Hickok to set aside
his abiding failure to submit to the Court's authority. If Hickok has not permitted Scouler to
access the PV system by Friday, August 21, 2020, the Court will impose a $1,000 daily fine
assessed beginning on that day and continuing every day until the receiver successfully
accesses the PV system. That daily fine, being coercive, will be owed to the Court, rather
than to the receiver.

In any case, Hickok's refusal to allow Scouler to do his duty cannot continue. It may
seem unfair that Monolith may continue to profit from Hickok's property when it owes him
substantial back rent for the use of that property, but ultimately all creditors of the
receivership—including Hickok—would benefit most from allowing the receivership to do what
it is designed to. Namely, to maximize its profits and value so that some day Hickok and the
other creditors can perhaps be paid what they are owed. Regardless, until this case is
resolved no creditor can take authority into his own hands that rightfully belongs to this Court.

Therefore, it is

ORDERED that

1. Non-party Gary Hickok is held in civil contempt of this Court's Second Order

Modifying the Receivership:

 
 

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2. Gary Hickok is ordered to pay Daniel Scouler a compensatory fine of $15,711 for
profits lost by Gary Hickok's denying Daniel Scouler access to the PV system
located at Gary's Garage, 8A Apollo Drive, Albany, New York 12205:

3. Should Scouler not be permitted to access the PV system at Gary's Garage before
August 21, 2020, the Court will assess a daily fine against Gary Hickok in the
amount of $1,000 beginning that day and continuing until Scouler gains access:

4. Upon Daniel Scouler's regaining access to the PV system at Gary's Garage, should
Gary Hickok have damaged that system through his contempt of the Court's
receivership order, Scouler may apply for an additional fine to recover for that
damage;

5. Daniel Scouler may apply for an award of attorneys' fees no later than Wednesday,
August 5, 2020; which Gary Hickok may oppose no later than Wednesday, August

19, 2020; and

6. Scouler is directed to personally serve this Memorandum-Decision and Order on
Gary Hickok no later than Friday, July 31, 2020.

IT 1S SO ORDERED.

Dated: July 22, 2020
Utica, New York.

 

 
